               Case
OLF3 (Official Local   17-10012
                     Form 3)             Doc 610         Filed 01/07/20 Entered 01/07/20 10:33:21                    Desc Main
Effective December 1, 2017                                Document     Page 1 of 20
                                                      UNITED STATES BANKRUPTCY COURT
                                                         DISTRICT OF MASSACHUSETTS
In re Gail Balser
                                                                                                   Case No. 17-10012
                                                                                                   Chapter 13

                     Debtor(s)

                                                                CHAPTER 13 PLAN

Check one. This Plan is:
    Original
     Eleventh Amended (Identify First, Second, Third, etc.)
    Postconfirmation (Date Order Confirming Plan Was Entered:                                  )
Date this Plan was filed: January 7, 2020


PART 1:                                                NOTICES
TO ALL INTERESTED PARTIES:
You should review carefully the provisions of this Plan as your rights may be affected. In the event the Court enters an order confirming this
Plan, its provisions may be binding upon you. The provisions of this Plan are governed by statutes and rules of procedure, including Title 11
of the United States Code (the “Bankruptcy Code”), the Federal Rules of Bankruptcy Procedure (“Fed. R. Bankr. P.”), the Massachusetts Local
Bankruptcy Rules (“MLBR”), and, in particular, the Chapter 13 rules set forth in Appendix 1 of MLBR, all of which you should consult.

TO CREDITORS:
Your rights may be affected by this Plan. Your claim may be reduced, modified, or eliminated. Read this Plan carefully and discuss it with
your attorney. If you do not have an attorney, you may wish to consult with one. If you oppose this Plan's treatment of your claim or any
other provision of this Plan, you or your attorney must file with the Court an objection to confirmation on or before the later of (i) thirty (30)
days after the date on which the first Meeting of Creditors pursuant to 11 U.S.C. § 341 is held or (ii) thirty (30) days after service of an
amended or modified Plan, unless the Court orders otherwise. A copy of your objection must be served on the Debtor(s), the attorney for
the Debtor(s), and the Chapter 13 Trustee (the “Trustee”). The Bankruptcy Court may confirm this Plan if no objection to confirmation is filed
or if it overrules an objection to confirmation. You have received or will receive a Notice of Chapter 13 Bankruptcy Case from the Bankruptcy
Court which sets forth certain deadlines, including the bar date for filing a Proof of Claim. To receive a distribution, you must file a Proof of
Claim.
TO DEBTOR(S):
You (or your attorney) are required to serve a copy of this Plan on all creditors in the manner required under the Bankruptcy Code, the Fed.
R. Bankr. P., and MLBR. Unless the Court orders otherwise, you must commence making payments not later than the earlier of (i) thirty (30)
days after the date of the filing of this Plan or (ii) thirty (30) days after the order for relief. You must check a box on each line below to state
whether or not this Plan includes one or more of the following provisions. If you check the provision “Not Included,” if you check both
boxes, or if you do not check a box, any of the following provisions will be void if set forth later in this Plan. Failure to properly complete
this section may result in denial of confirmation of this Plan.

                     FOR EACH LINE BELOW, DO NOT CHECK BOTH BOXES; DO NOT LEAVE BOTH BOXES BLANK.
         A limit on the amount of a secured claim, set out in Part 3.B.1, which
  1.1 may result in a partial payment or no payment at all to the secured         ✔ Included                          Not Included
         creditor.
         Avoidance of a judicial lien or nonpossessory, nonpurchase-money
  1.2 security interest, set out in Part 3.B(3).                                    Included                       ✔ Not   Included

  1.3 Nonstandard provisions, set out in Part 8.                                  ✔ Included                          Not Included


                                                                                                                               Page 1 of 13
 PART 2:Case 17-10012                 Doc 610      Filed 01/07/20 Entered 01/07/20 10:33:21
                                                  PLAN     LENGTH
                                                    Document     Page AND
                                                                      2 of 20PAYMENTS
                                                                                                             Desc Main


 A.          LENGTH OF PLAN:
        36 Months. 11 U.S.C. § 1325(b)(4)(A)(i)
     60 Months. 11 U.S.C. § 1325(b)(4)(A)(ii)
   X
   X. 60    Months pursuant to 11 U.S.C. § 1322(d)(2). The Debtor(s) states the following cause:
            Debtor is unable to complete a plan in less than 60 months.

 B.          PROPOSED MONTHLY PAYMENTS:


                  Monthly Payment Amount                                Number of Months


        +    -    225.00                                                17
                  210.00                                                 3

        +    -    208.00                                                8

                   94.00                                                1

        +    -    162.00                                                2

                  167.00                                                2

                  166.00                                                27

  C.     ADDITIONAL PAYMENTS:
  Check one.
      None. If “None” is checked, the rest of Part 2.C need not be completed and may be deleted from this Plan.
   X. The Debtor(s) will make additional payment(s) to the Trustee, as specified below. Set forth the amount, source (e.g.,
   T
   h
   e


lump sums from sales/refinances, tax refunds), and date of each payment.
   p
   ic
   t
   u
   r
   e

  ***The following provision is suspended from this plan and not included in the plan calculations until such time as the Debtor’s
   c
   a
   n
   't


pending appeal is resolved.
   b
   e
   d
   is
   p
   l
   a


                  Additional Payment Amount            Source                                   Date of Payment
   y
   e
   d
   .




                  ***                                  ***
        +    -     525,000.                            Refinance of Elizabeth Island            Within 60 days of plan approval



 Total amount of Payments to the Trustee [B+(C is not included)]:                                           $ 11,353.00
  This amount must be sufficient to pay the total cost of this Plan in Exhibit 1, Line h.


 PART 3:                                          SECURED CLAIMS
        None. If “None” is checked, the rest of Part 3 need not be completed and may be deleted from this Plan.

 A.     CURE OF DEFAULT AND MAINTENANCE OF PAYMENTS:
 Check one.
  ✔ None.        If “None” is checked, the rest of Part 3.A need not be completed and may be deleted from this Plan.
        Any Secured Claim(s) in default shall be cured and payments maintained as set forth in 1 and/or 2 below.
 Complete 1 and/or 2.



                                                                                                                      Page 2 of 13
                   Case 17-10012      Doc 610      Filed 01/07/20 Entered 01/07/20 10:33:21
          (1) PREPETITION ARREARS TO BE PAID THROUGH THIS PLAN
                                                                                                               Desc Main
                                                    Document     Page 3 of 20
  Prepetition arrearage amounts are to be paid through this Plan and disbursed by the Trustee. Unless the Court orders
  otherwise, the amount(s) of prepetition arrears listed in an allowed Proof of Claim controls over any contrary amount(s)
  listed below. Unless the Court orders otherwise, if relief from the automatic stay is granted as to any collateral listed in
  this paragraph, all payments paid through this Plan as to that collateral will cease upon entry of the order granting relief
  from stay.

             (a)     Secured Claim(s) (Principal Residence)

          Address of the Principal Residence:

                        The Debtor(s) estimates that the fair market value of the Principal Residence is: $


                                                        Type of Claim
                   Name of Creditor                                                                Amount of Arrears
                                                        (e.g., mortgage, lien)


      +      -



                                Total of prepetition arrears on Secured Claim(s) (Principal Residence): $ 0

             (b)     Secured Claim(s) (Other)

                                                                         Description of Collateral
                   Name of Creditor       Type of Claim                                                      Amount of Arrears
                                                                         (or address of real property)

      +      -




                                                  Total prepetition arrears on Secured Claim(s) (Other): $ 0


                                      Total prepetition arrears to be paid through this Plan [(a) + (b)]: $ 0


          (2) MAINTENANCE OF CONTRACTUAL INSTALLMENT PAYMENTS (TO BE PAID DIRECTLY TO CREDITORS):
  Contractual installment payments are to be paid directly by the Debtor(s) to the creditor(s). The Debtor(s) will maintain the
  contractual installment payments as they arise postpetition on the secured claims listed below with any changes required by
  the applicable contract and noticed in conformity with any applicable rules.


                                                              Name of            Type of         Description of Collateral
                                                              Creditor           Claim

      +      -                                                Mr. Cooper         1st Mortgage    11 Steeple Chase Circle, Attleboro, MA

***
The following provision is suspended from this plan until     Wells Fargo        1st Mortgage     38 Elizabeth Island Rd, Mashpee, MA
such time as the Debtor’s pending appeal is resolved.


 B.          MODIFICATION OF SECURED CLAIMS:

Check one.
   None. If “None” is checked, the rest of Part 3.B need not be completed and may be deleted from this Plan.
                                                                                                                               Page 3 of 13
  ✔ Secured
                  Case 17-10012
                  Claim(s)          Docas
                           are modified 610    Filedin01/07/20
                                          set forth               Entered
                                                       1, 2, and/or       01/07/20
                                                                    3 below.       10:33:21
                                                                             Complete            Desc
                                                                                      1, 2, and/or     Main
                                                                                                   3 below.
                                                Document        Page 4 of 20
        (1) REQUEST FOR VALUATION OF SECURITY, PAYMENT OF FULLY SECURED CLAIMS, AND MODIFICATION OF
            UNDERSECURED CLAIMS UNDER 11 U.S.C. § 506:
           None. If “None” is checked, the rest of Part 3.B.1 need not be completed and may be deleted from this Plan.

 The following Plan provisions of Part 3.B.1 are effective only if the box “Included” in Part 1, Line 1.1 is checked.

 The Debtor(s) requests that the Court determine the value of the lien of the following secured claim(s). For each secured claim
 listed below, the Debtor(s) states that the amount of the secured claim is as set out in the column headed “Secured Claim
 Amount.” For each listed claim, the allowed amount of the secured claim will be paid in full with interest at the rate stated
 below, and the creditor will retain its lien to the extent of the value of the lien securing the creditor's allowed secured claim.

 Unless the Court orders otherwise, the amount of a modified secured claim held by a nongovernmental creditor, as described in
 this Plan and treated below, is binding on the creditor and the Debtor(s) upon confirmation of this Plan, even if the creditor has
 filed a Proof of Claim setting forth a different amount.

 Unless the Court orders otherwise, the amount of a secured claim of a governmental unit listed in an allowed Proof of Claim
 controls over any contrary amount listed below. The amount of a secured claim of a governmental unit may NOT be determined
 through this Plan.

 An allowed claim of a creditor whose claim is secured by a lien on property in which the estate has an interest is a secured claim
 to the extent of the value of the creditor's interest, and is an unsecured claim to the extent that the value of such creditor's
 interest is less than the amount of the allowed claim. The portion of any allowed claim that exceeds the amount of the secured
 claim will be treated as an unsecured claim in Part 5 of this Plan. If the secured claim amount is listed below as having NO value,
 the creditor's allowed claim will be treated in its entirety as an unsecured claim in Part 5 of this Plan.

 In the description of collateral, include the registry of deeds/land court recording information for any real property for which you
 are modifying a secured claim.
    The following provision is suspended from this plan and not included in the plan calculations until such time as the Debtor’s
pending appeal is resolved.
                                      Description and Value of   Secured Claim         Amount of Senior    Interest
                  Name of Creditor                                                                                  Total Claim
                                      Collateral                 Amount                Liens               Rate
                                      38 Elizabeth Island Rd,                                                       $512,000 (balance
    +      -      Wells Fargo         Mashpee, MA 02648           512,000              0                   4.875    reduced to
                                      Certificate of Title 181883                                                   $469,200 due to
                                                                                                                    ongoing payments)

                                 Total Claim(s) under Part 3.B.1 to be paid through this Plan: $469,200.
        (2) SECURED CLAIMS EXCLUDED FROM 11 U.S.C. § 506:
        ✔ None.   If “None” is checked, the rest of Part 3.B.2 need not be completed and may be deleted from this Plan.

   This section includes any claim(s) that was either (i) incurred within 910 days before the petition date and secured by a
   purchase-money security interest in a motor vehicle acquired for the personal use of the Debtor(s) or (ii) incurred within one
   year of the petition date and secured by a purchase-money security interest in any other thing of value. Such claim(s) will be
   paid in full through this Plan with interest at the rate stated below. Unless the Court orders otherwise, the claim amount
   stated on an allowed Proof of Claim controls over any contrary amount listed below.

   If you are treating the claim in Part 3.B.1 or 3.B.3, you should not include the claim in this section.
               Name of Creditor         Description of Collateral     Secured Claim            Interest Rate Total Claim
                                                                      Amount




                                                                                                   Page 4 of 13
                    Case 17-10012       Doc 610      Filed 01/07/20       Entered 01/07/20 10:33:21        Desc Main
                    Name of Creditor       Description of Collateral Page
                                                     Document         Secured
                                                                          5 ofClaim
                                                                               20 Amount Interest Rate Total Claim

     +        -



                                           Total Claim(s) under Part 3.B.2 to be paid through this Plan: $ 0

         (3) LIEN AVOIDANCE UNDER 11 U.S.C. § 522(f):
         ✔   None. If “None” is checked, the rest of Part 3.B.3 and Exhibits 3 and 4 need not be completed and may be deleted from
              this Plan.

The following Plan provisions of Part 3.B.3 are effective only if the box “Included” in Part 1, Line 1.2 is checked.

The judicial lien(s) and/or nonpossessory, nonpurchase-money security interest(s) securing the claim(s) listed below impairs
exemptions to which the Debtor(s) would have been entitled under 11 U.S.C. § 522(b).

Subject to 11 U.S.C. § 349(b), a judicial lien or nonpossessory, nonpurchase-money security interest securing a claim listed
below will be avoided to the extent that it impairs such exemptions upon entry of the Order confirming this Plan. The amount of
the judicial lien or nonpossessory, nonpurchase-money security interest that is avoided will be treated as a nonpriority
unsecured claim in Part 5 if a Proof of Claim has been filed and allowed. The amount, if any, of the judicial lien or
nonpossessory, nonpurchase-money security interest that is not avoided will be paid in full as a secured claim under this Plan
provided a Proof of Claim is filed and allowed.

For each judicial lien that the Debtor(s) seeks to avoid, the Debtor(s) shall include the information below. The Debtor(s) also shall
complete the chart set forth in Exhibit 3 to this Plan and shall attach to Exhibit 3 a true and accurate copy of the document
evidencing such judicial lien as filed or recorded with filing or recording information included. The Debtor(s) shall include the
evidentiary basis for the valuation asserted. For each judicial lien that the Debtor(s) seeks to avoid, the Debtor(s) shall provide a
proposed form(s) of order as Exhibit 4 conforming to Official Local Form 21A. If the Debtor(s) is avoiding more than one lien, the
Debtor(s) shall provide the information in a separate table in Exhibit 3 for each lien, and identify the tables as Exhibit 3.1, 3.2,
etc.

The claim(s) identified below must also be set forth in Exhibit 3.

                                                  Exhibit Table
                    Name of Creditor
                                                  (e.g., 3.1, 3.2, 3.3)

     +        -


                                            Total Claim(s) under Part 3.B.3 to be paid through this Plan: $ 0

C.            SURRENDER OF COLLATERAL:

Check one.
✔ None.           If “None” is checked, the rest of Part 3.C need not be completed and may be deleted from this Plan.
     The Debtor(s) elects to surrender to each creditor listed below the collateral that secures the creditor's claim.
     The Debtor(s) requests that, upon confirmation of this Plan, the stay under 11 U.S.C. § 362(a) be terminated as to the
     collateral only and that the stay under 11 U.S.C. § 1301 be terminated in all respects. Any allowed unsecured claim(s)
     resulting from the disposition of the collateral will be treated in Part 5 of this Plan.




                                                                                                                          Page 5 of 13
               Case 17-10012       Doc 610     Filed 01/07/20     Entered 01/07/20 10:33:21          Desc Main
               Name of Creditor           Type of Claim
                                                Document         PageDescription
                                                                     6 of 20     of Collateral


     +   -




PART 4:                                       PRIORITY CLAIMS
Check one.
     None. If “None” is checked, the rest of Part 4 need not be completed and may be deleted from this Plan.
✔ The   following priority claim(s) will be paid in full without postpetition interest. Unless the Court orders otherwise,
     the amount of the priority portion of a filed and allowed Proof of Claim controls over any contrary amount listed below.


A.       DOMESTIC SUPPORT OBLIGATIONS:

               Name of Creditor           Description of Claim                                     Amount of Claim


     +   -



B.       OTHER PRIORITY CLAIMS (Except Administrative Expenses):

               Name of Creditor           Description of Claim                                     Amount of Claim


     +   -     Mass Dept of Revenue       Claim # 8 - Income Taxes                                    106


     +   -     City of Attleboro          Claim # 14 - Water/Sewer Lien                            10,023



Total Priority Claim(s) (except Administrative Expenses) to be paid through this Plan [A + B]:     $ 10,129


C.       ADMINISTRATIVE EXPENSES:

         (1)      ATTORNEY'S FEES:

               Name of Attorney                                                              Attorney's Fees


     +   -



If the attorney's fees exceed the amount set forth in MLBR, Appendix 1, Rule 13-7, the Trustee may not pay any amount
exceeding that sum until such time as the Court approves a fee application. If no fee application is approved, any plan payments
allocated to attorney's fees in excess of MLBR Appendix 1, Rule 13-7 will be disbursed to other creditors up to a 100% dividend.


         (2)      OTHER (Describe):




                                                                                                                     Page 6 of 13
                     Case 17-10012       Doc 610      Filed 01/07/20      Entered 01/07/20 10:33:21          Desc Main
 Total Administrative Expenses (excluding the Trustee's Commission)
                                           Document                 to be paid through this Plan [(1 ) + (2)]: $ 0
                                                         Page 7 of 20


               (3)      TRUSTEE'S COMMISSION:

 The Debtor shall pay the Trustee's commission as calculated in Exhibit 1.

 The Chapter 13 Trustee's fee is determined by the United States Attorney General. The calculation of the Plan payment set forth
 in Exhibit 1, Line (h) utilizes a 10% Trustee's commission. In the event the Trustee's commission is less than 10%, the additional
 funds collected by the Trustee, after payment of any allowed secured and priority claim(s), and administrative expense(s) as
 provided for in this Plan, shall be disbursed to nonpriority unsecured creditors up to 100% of the allowed claims.


 PART 5:                                             NONPRIORITY UNSECURED CLAIMS
 Check one.
       None. If “None” is checked, the rest of Part 5 need not be completed and may be deleted from this Plan.
  ✔   Any allowed nonpriority unsecured claim(s) other than those set forth in Part 5.F will be paid as stated below.
      Only a creditor holding an allowed claim is entitled to a distribution.

          ✔   Fixed Amount (“Pot Plan”): each creditor with an allowed claim shall receive a pro rata share of $ 100                   ,
               which the Debtor(s) estimates will provide a dividend of .0001 %.
              Fixed Percentage: each creditor with an allowed claim shall receive no less than        % of its allowed claim


 A.            GENERAL UNSECURED CLAIMS:                                                                   $ 53


 B.            UNSECURED OR UNDERSECURED CLAIMS AFTER MODIFICATION IN PART 3.B OR 3.C:
    ***The following provision is suspended from this plan and not included in the plan calculations until such time as the Debtor’s
pending appeal is resolved.

                     Name of Creditor          Description of Claim                                               Amount of Claim


      +       -      Wells Fargo               Undersecured claim - 38 Elizabeth Island Rd                        $158,523

                                                                                                                  *** See Note

 C.            NONDISCHARGEABLE UNSECURED CLAIMS (e.g., student loans):


                     Name of Creditor          Description of Claim                                               Amount of Claim


      +       -



  D.              CLAIMS ARISING FROM REJECTION OF EXECUTORY CONTRACTS OR LEASES:


                     Name of Creditor          Description of Claim                                               Amount of Claim

      +       -



                                                                                                              Page 7 of 13
                 Case 17-10012        Doc 610      Filed 01/07/20 Entered 01/07/20 10:33:21               Desc Main
                                                    Document     Page 8 of 20



E.           TOTAL TO BE PAID TO NONPRIORITY UNSECURED CREDITORS THROUGH THIS PLAN:

             The amount paid to any nonpriority unsecured creditor(s) is not less than that required under the
             Liquidation Analysis set forth in Exhibit 2.


                                                      Total Nonpriority Unsecured Claims [A + B + C + D]: $ *** See Note

                   Enter Fixed Amount (Pot Plan) or multiply total nonpriority unsecured claim(s) by Fixed
                                                                  Percentage and enter that amount: $ 89


 F.          SEPARATELY CLASSIFIED UNSECURED CLAIMS (e.g., co-borrower):


                                                                                                              Basics of Separate
                Name of Creditor        Description of Claim          Amount of Claim Treatment of Claim
                                                                                                              Classification

     +   -      Francis & Yvonn Gunning non dischargeable debt        375,000.           Direct Payment       non dischargeable


                          Total of separately classified unsecured claim(s) to be paid through this Plan: $ 0.00


PART 6:                                           EXECUTORY CONTRACTS AND UNEXPIRED LEASES
Check one.
✔ None.       If “None” is checked, the rest of Part 6 need not be completed and may be deleted from this Plan.
   The executory contract(s) and unexpired leases listed are assumed and will be treated as specified below.
   Any other executory contract(s) and/or unexpired lease(s) is rejected. Post petition contractual payments will be made
   directly by the Debtor(s). Arrearage payments will be disbursed by the Trustee.
A.     REAL PROPERTY LEASES:

                 Name of Creditor             Lease Description                                            Arrears


     +   -



B.       MOTOR VEHICLE LEASES:

                 Name of Creditor             Lease Description                                            Arrears

     +   -



C.       OTHER CONTRACTS OR LEASES:



                                                                                                                       Page 8 of 13
                   Case 17-10012              Doc 610         Filed 01/07/20         Entered 01/07/20 10:33:21                    Desc Main
                   Name of Creditor                    Lease Document
                                                             Description            Page 9 of 20                                    Arrears

      +-


                                                             Total amount of arrears to be paid through this Plan: $ 0



  PART 7:                               POSTCONFIRMATION VESTING OF PROPERTY OF THE ESTATE
  If the Debtor(s) receives a discharge, property of the estate will vest in the Debtor(s) upon entry of the discharge. If the
  Debtor(s) does not receive a discharge, property of the estate will vest upon the earlier of (i) the filing of the Chapter 13
  Standing Trustee's Final Report and Account and the closing of the case or (ii) dismissal of the case.


  PART 8:                                                   NONSTANDARD PLAN PROVISIONS
  Check one.
        None. If “None” is checked, the rest of Part 8 need not be completed and may be deleted from this Plan.
     This Plan includes the following nonstandard provisions. Under Fed. R. Bankr. P. 3015(c), each nonstandard provision
     must be set forth below in a separately numbered sentence or paragraph. A nonstandard provision is a provision not
     otherwise included in Official Local Form 3, or which deviates from Official Local Form 3. Nonstandard provisions set forth
     elsewhere in this Plan are ineffective. To the extent the provisions in Part 8 are inconsistent with other provisions of this Plan,
     the provisions of Part 8 shall control if the box "Included" is checked in Part 1, Line 1.3.
  The following Plan provisions are effective only if the box “Included” in Part 1, Line 1.3 is checked.

      Gunning – Claim 1: Separately classified unsecured claim

      Mr. Cooper - Claim 2: The Massachusetts Attorney General’s office has worked with the Creditor of a 1st Mortgage Claim on 11 Steeple
      Chase Circle, Attleboro, MA to modify their claim in a consensual loan modification between Debtor and 1st mortgage loan
      holder, Nationstar Mortgage LLC dba Mr. Cooper. The 1st Mortgage Claim has been modified to reflect a principal balance as
      of $250,000 as of December 1, 2018. $200,000 of said principal balance shall be interest bearing at the rate of 4.625% and
      $50,000 of said principal balance shall be treated as a deferred non-interest bearing principal forbearance. Buyer will not be
      required to pay interest or make monthly payments on said deferred principal balance. Debtor will make two hundred twenty-
      one (221) monthly payments $1346.10 on interest bearing principal balance outside of the plan. The Lender agrees that
      the sum of $190,803.31 of the principal shall be forgiven.

      Deutsche Bank Trust Company Americas – Claim 3: This is secured by property that is owned by a trust in which the Debtor has an
      25% interest. The net value of this trust is $0 due to secured claims that exceed that value of real property. This court has approved a
      loan modification of this Debtor’s claim. It shall be paid by the trust outside of the plan.

      Federal National Mortgage Association – Claim 4: This is secured by property that is owned by a trust in which the Debtor has an
      25% interest. The net value of this trust is $0 due to secured claims that exceed that value of real property. This court has approved a
      loan modification of this Debtor’s claim. It shall be paid by the trust outside of the plan.

      U.S. Bank Trust National Association – Claim 5: This is secured by property that is owned by a trust in which the Debtor has an 25%
      interest. The net value of this trust is $0 due to secured claims that exceed that value of real property. This court has approved a loan
      modification of this Debtor’s claim. It shall be paid by the trust outside of the plan.

      U.S. Bank Trust, N.A., as Trustee for LSF10 Master Participation Trust – Claim 6: This is secured by property that is owned by a trust in
      which the Debtor has an 25% interest. The net value of this trust is $0 due to secured claims that exceed that value of real property.
      This court has approved a loan modification of this Debtor’s claim. It shall be paid by the trust outside of the plan.

      ***The following provision is suspended from this plan and not included in the plan calculations until such time as the Debtor’s
      pending appeal is resolved. Wells Fargo Bank, N.A. – Claim 7: The Debtor has applied for a loan modification through the Massachusetts
      Attorney General’s Office as a result of an agreement with HSBC/Wells Fargo and the Massachusetts AG’s office. This is not yet finalized. This property is
      a mixed use property. Pending resolution with the AG’s office this plan addresses the 1st Mortgage Claim on 38 Elizabeth Island Rd, Mashpee, MA
      through a bifurcation of that claim. To effectuate that bifurcation, the Debtor REQUESTS VALUATION OF THE SECURITY AND MODIFIES
      THE CLAIM TO THE EXTENT IT IS

Page 9 of 13
Case 17-10012   Doc 610   Filed 01/07/20 Entered 01/07/20 10:33:21   Desc Main
                          Document      Page 10 of 20
                      Case 17-10012         Doc 610          Filed 01/07/20 Entered 01/07/20 10:33:21                    Desc Main
                                                             Document      Page 11 of 20
                       List additional exhibits if applicable.

       +-


       *Denotes a required Exhibit in every plan
       **Denotes a required Exhibit if the box “Included” is checked in Part 1, Line 1.2.
  Total number of Plan pages, including Exhibits: 13
                                                                       EXHIBIT 1
                                                   CALCULATION OF PLAN PAYMENT

       a)       Secured claims (Part 3.A and Part 3.B.1-3 Total):                                        $ See *** provision

       b)       Priority claims (Part 4.A and Part 4.B Total):                                           $ 10,129

       c)       Administrative expenses (Part 4.C.1 and Part 4.C.2 Total):                               $           0

       d)       Nonpriority unsecured claims (Part 5.E Total):                                           $      89

       e)       Separately classified unsecured claims (Part 5.F Total):                                 $           0

       f)       Executory contract/lease arrears claims (Part 6 Total):                                  $           0

       g)       Total of (a) +(b) + (c) + (d) + (e) + (f):                                               $ 10,218

       h)       Divide (g) by .90 for total Cost of Plan including the Trustee's fee:                    $ 11,353

       i)        Divide (h), Cost of Plan, by term of Plan,     60             months:                   $

       j)       Round up to the nearest dollar amount for Plan payment:                                  $


  If this is either an amended Plan and the Plan payment has changed, or if this is a postconfirmation amended Plan, complete
  (a) through (h) only and the following:


  k)        Enter total amount of payments the Debtor(s) has paid to the Trustee:                   $        6,871
            Amount to be paid from refinance of 38 Elizabeth Island within 60 days of plan approval $.          ***
            Sum of Line K                                                                           $        6,871
  l)        Subtract the sum of line (k) from line (h) and enter amount here:                       $        4,482

 m)            Divide line (l) by the number of months remaining ( 27 months):                      $ 166

  n)        Round up to the nearest dollar amount for amended Plan payment:                         $ 166


  Date the amended Plan payment shall begin: Jan 7, 2020


                                                                                                              Page 11 of 13


Page 9 of 13
                    Case 17-10012           Doc 610          Filed 01/07/20 Entered 01/07/20 10:33:21               Desc Main
                                                             Document      Page 12 of 20
                                                                           EXHIBIT 2
                                                             LIQUIDATION ANALYSIS
     A. REAL PROPERTY


                    Address                                   Value                     Lien                       Exemption
                    (Sch. A/B, Part 1)                        (Sch. A/B, Part1)         (Sch. D, Part 1)           (Sch. C)

       +       -    11 Steeple Chase Circle, Attleboro, MA    250,000.00                250,000                    1.00


       +       -    38 Elizabeth Island Rd, Mashpee, MA 512,000.00                      670,524                    1.00



      Total Value of Real Property (Sch. A/B, line 55):                                                    $ 762,000.00

      Total Net Equity for Real Property (Value Less Liens):                                               $0

      Less Total Exemptions for Real Property (Sch. C):                                                    $0

                                                     Amount Real Property Available in Chapter 7: $ 0



     B. MOTOR VEHICLES

                    Make, Model and Year                      Value                     Lien                       Exemption
                    (Sch. A/B, Part 2)                        (Sch. A/B, Part 2)        (Sch. D, Part 1)           (Sch. C)

       +       -



      Total Value of Motor Vehicles (Sch. A/B, line 55):                                                   $0

      Total Net Equity for Motor Vehicles (Value Less Liens):                                              $0

      Less Total Exemptions for Motor Vehicles (Sch. C):                                                   $0

                                                     Amount Motor Vehicle Available in Chapter 7: $ 0



     C. ALL OTHER ASSETS (Sch. A/B Part 2, no. 4; Part 3 through Part 7. Itemize.)

                                                                                       Lien                      Exemption
                   Asset                                     Value
                                                                                       (Sch. D, Part 1)          (Sch. C)




                                                                                                                     Page 12 of 13



Page 9 of 13
                   Case 17-10012            Doc 610    Filed 01/07/20 Entered 01/07/20 10:33:21                    Desc Main
                                                       Document      Page 13 of 20
                                                                                 Lien                          Exemption
                   Asset                                Value
                                                                                 (Sch. D, Part 1)              (Sch. C)

       +       -   Household Furniture                  8,000                    0                             8,000


       +       -   TVs, Computer                        1,000                    0                             1,000


       +       -   Clothing                             1,000                    0                             1,000


       +       -   watch, rings, necklace               1,000                    0                             1,000


       +       -   Cash & TD Bank Checking              3,050                    0                             3,050


       +       -   Seturus Refund                       3,274                    0                             3,275


       +       -   IRA Midland                          1,000                    0                             1,000


       +       -   CWB Trust - net value of assets      0                        0                             0


       +       -   Estimated Tax Refund                 2,500                    0                             2,500


       +       -   Life Insurance - No Cash Value       0                        0                             0



      Total Value of All Other Assets:                                                              $ 20,825

      Total Net Equity for All Other Assets (Value Less Liens):                                     $ 20,825

      Less Total Exemptions for All Other Assets:                                                   $ 20,825

                                              Amount of All Other Assets Available in Chapter 7: $ 0

    D. SUMMARY OF LIQUIDATION ANALYSIS


                                      Amount available in Chapter 7                                                    Amount

      A. Amount of Real Property Available in Chapter 7 (Exhibit 2, A)                              $0

      B. Amount of Motor Vehicles Available in Chapter 7 (Exhibit 2, B)                             $0

      C. Amount of All Other Assets Available in Chapter 7 (Exhibit 2, C)                           $0


                                                                       TOTAL AVAILABLE IN CHAPTER 7: $ 0

    E. ADDITIONAL COMMENTS REGARDING LIQUIDATION ANALYSIS:

                                                                                                       Page 13 of 13

Page 9 of 13
Case 17-10012   Doc 610   Filed 01/07/20 Entered 01/07/20 10:33:21   Desc Main
                          Document      Page 14 of 20
 Case 17-10012       Doc 610     Filed 01/07/20 Entered 01/07/20 10:33:21          Desc Main
                                 Document      Page 15 of 20


E-mail service: via the Court’s CM/ECF system which sent notification of such filing to the
following:


   •   William J. Amann wamann@ba-lawgroup.com, cshaw@ba-lawgroup.com
   •   Stephanie E. Babin sbabin@sassooncymrot.com,
       sbabinecf@gmail.com,bankruptcy@sassooncymrot.com
   •   Carolyn Bankowski-13-12 13trustee@ch13boston.com
   •   Andrew Cannella bkecf@bmpc-law.com
   •   Derek A. Castello bkecf@bmpc-law.com, dcastello@bmpc-law.com
   •   Richard C. Demerle RDemerle@SassoonCymrot.com,
       bankruptcy@sassooncymrot.com
   •   Joseph Dolben jdolben@mlg-defaultlaw.com, yfrails@mlg-
       defaultlaw.com;rdesrosiers@mlg-defaultlaw.com
   •   Catherine V. Eastwood bankruptcy@kordeassoc.com
   •   John Fitzgerald USTPRegion01.BO.ECF@USDOJ.GOV
   •   Stefanie D. Howell MABK@harmonlaw.com, showell@ecf.courtdrive.com
   •   Reneau J. Longoria rjl@dgandl.com,
       bd@dgandl.com;mbd@dgandl.com;bs@dgandl.com
   •   Megan O'Keefe Manzo bankruptcy@guaettalaw.com
   •   Richard T. Mulligan mabk@harmonlaw.com, rmulligan@ecf.courtdrive.com
   •   Zoh Nizami bankruptcy@kordeassociates.com
   •   Marcus Pratt bankruptcy@KORDEASSOC.COM
   •   Julie A. Ranieri bankruptcy@kordeassoc.com
   •   Joshua Ryan-Polczinski mabk@harmonlaw.com, jryan@ecf.courtdrive.com
   •   Tatyana P. Tabachnik bankruptcyNE@orlans.com,
       ttabachnik@orlans.com;ANHSOM@4stechnologies.com

And by regular United States mail postage prepaid upon the following and all creditors on the
annexed list:

       Bryan S. Fairman
       Aldridge Pite, LLP
       4375 Jutland Dr., Suite 200
       PO Box 17933
       San Diego, CA 92117

       Amy J. Megliola
       Siddall & Siddall, P.C.
       1350 Main Street
       Suite 1505
       Springfield, MA 01103
Case 17-10012     Doc 610      Filed 01/07/20 Entered 01/07/20 10:33:21   Desc Main
                               Document      Page 16 of 20




Americas Servicing Co
PO Box 10328
Des Moines IA 50306
City of Attleboro
c/o Amy J. Megliola, Esquire
Siddall & Siddall, P.C.
1350 Main Street, Suite 210
Springfield, MA 01103
City of Attleboro
77 Park Street
PO Box 4127
Attleboro MA 02703
CP Rich Plumbing
250E Main St
Norton MA 02766
Deutsche Bank Trust Company Americas
c/o Ocwen Loan Servicing, LLC
Attn: Bankruptcy Department
PO BOX 24605
West Palm Beach, FL 33416
Federal National Mortgage Association
c/o Seterus, Inc.
P.O. Box 1047
Hartford, CT 06143
Federal National Mortgage Association
C/O Seterus, Inc.
14523 SW Millikan Way, Suite 200
Beaverton, OR 97005
Francis and Yvette Gunning
c/o Michael T. McGahan
144 Bank Street, PO Box 2320
Attleboro, MA 02703
HSBC BANK USA
RAS CRANE, LLC
BANKRUPTCY DEPARTMENT
10700 ABBOTT'S BRIDGE ROAD, SUITE 170
DULUTH, GA 30097
HSBC Bank USA, National Association
Nationstar Mortgage LLC
Case 17-10012     Doc 610      Filed 01/07/20 Entered 01/07/20 10:33:21   Desc Main
                               Document      Page 17 of 20



PO Box 619096
Dallas TX 752619741
MASSACHUSETTS DEPARTMENT OF REVENUE
BANKRUPTCY UNIT
P.O. BOX 9564
BOSTON, MA 02114
Michael Chisholm
201 John Scott Blvd.
Norton MA 02766
MTGLQ Investors, LP
Rushmore Loan Management Services
P.O. Box 55004
Irvine, CA 92619-2708
National Grid
PO Box 1648
Woburn MA 01807
Nationstar
1010 W Mockingbird Suite 100
Dallas TX 75247
Nationstar Mortgage LLC d/b/a Mr. Cooper
P.O. Box 619086
Dallas, TX 75261-9741
Synchrony Bank
c/o PRA Receivables Management, LLC
PO Box 41021
Norfolk, VA 23541
U.S. Bank Trust National Association
c/o SN Servicing Corporation
323 5th Street
Eureka, CA 95501
U.S. Bank Trust National Association, as Trustee
of the Tiki Series III Trust
c/o SN Servicing Corp.
323 5th Street
Eureka, CA 95501
U.S. Bank Trust National Association, as Trustee o
C/O SN Servicing Corporation
323 5th Street
Eureka, CA 95501
Case 17-10012     Doc 610     Filed 01/07/20 Entered 01/07/20 10:33:21   Desc Main
                              Document      Page 18 of 20



U.S. Bank Trust, N.A., as Trustee for LSF10
Master Participation Trust
c/o Caliber Home Loans, Inc
13801 Wireless Way
Oklahoma City, OK 73134
Phone: (800)401-6587
Wells Fargo Bank, N.A.
Default Document Processing
N9286-01Y
1000 Blue Gentian Road
Eagan MN 55121-7700
Case 17-10012   Doc 610   Filed 01/07/20 Entered 01/07/20 10:33:21   Desc Main
                          Document      Page 19 of 20
 Case 17-10012     Doc 610    Filed 01/07/20 Entered 01/07/20 10:33:21   Desc Main
                              Document      Page 20 of 20


Wells Fargo Bank, N.A.
Default Document Processing
N9286-01Y
1000 Blue Gentian Road
Eagan MN 55121-7700
Attn: C. Allen Parker, CEO
